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          11     Rasier-NY LLC, Uber-USA LLC

          12                                      UNITED STATES DISTRICT COURT

          13                                   NORTHERN DISTRICT OF CALIFORNIA

          14                                           SAN FRANCISCO DIVISION

          15
                 SC Innovations, Inc.,                               CASE NO. 3:18-CV-07440-JCS
          16
                                         Plaintiff,                  DEFENDANTS’ STATEMENT OF RECENT
          17                                                         DECISIONS
                        v.
          18
                 Uber Technologies, Inc; Rasier LLC; Rasier-
          19     CA LLC; Rasier-PA LLC; Rasier-DC LLC;
                 Rasier-NY LLC; Uber-USA LLC,
          20
                                         Defendants.
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Gibson, Dunn &
Crutcher LLP
                                            DEFENDANTS’ STATEMENT OF RECENT DECISIONS
                                                    CASE NO. 3:18-CV-07440-JCS
                             Case 3:18-cv-07440-JCS Document 81 Filed 03/27/20 Page 2 of 3


            1              Pursuant to Civil Local Rule 7-3(d)(2), Defendants Uber Technologies, Inc; Rasier LLC;
            2    Rasier-CA LLC; Rasier-PA LLC; Rasier-DC LLC; Rasier-NY LLC; and Uber-USA LLC (“Uber”)
            3    submit this Statement of Recent Decisions to provide the Court with notice of two recent decisions
            4    relevant to Uber’s Motion to Dismiss (ECF No. 76). First, the California Court of Appeal affirmed the
            5    trial court’s dismissal in Uber Technologies Pricing Cases, No. A154694 (Cal. Ct. App. Mar. 23, 2020),
            6    regarding application of the Unfair Practices Act’s statutory exemption for CPUC jurisdiction to Uber.
            7    A copy of the decision is attached hereto as Exhibit 1. The decision cites with approval this Court’s
            8    decision dismissing SCI’s Unfair Practices Act claim. Id. at 9, 17. The decision also supports the
            9    arguments made by Uber in regard to SCI’s failure to plead market power in Uber’s Motion to Dismiss
          10     (ECF No. 76 at 4 n.3) and Reply (ECF No. 78 at 6:20-22 & n.6).
          11               Second, in another case within the Northern District of California, Desoto Cab Co., Inc., v. Uber
          12     Technologies, Inc., et al., No. 16-CV-06385-JSW, ECF No. 100 (N.D. Cal. Mar. 25, 2020), the Court
          13     granted Uber’s motion to dismiss Plaintiff’s Sherman Act Section 2 predatory pricing claims. A copy
          14     of the decision is attached hereto as Exhibit 2. The decision, see id. at 7-8 & n.2, supports arguments
          15     made by Uber in regard to SCI’s failure to plead market power or any dangerous probability of
          16     recoupment in Uber’s Motion to Dismiss (ECF No. 76 at 10:9-12:6) and Reply (ECF No. 78 at 7:4-
          17     11:11).
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Gibson, Dunn &                                                         2
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                                             DEFENDANTS’ STATEMENT OF RECENT DECISIONS
                                                     CASE NO. 3:18-CV-07440-JCS
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             1   DATED: March 27, 2020
             2                                      Respectfully submitted,
             3
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             7                                      By: /s/ Daniel G. Swanson
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           11
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Crutcher LLP                                 CASE NO. 3:18-CV-07440-JCS
